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First Name           Last Name         Party Representing                       Firm Name

Ethan                Trotz             Creditor                                 Katten Muchin Rosenman LLP
Kate                 Thomas            Reorg
Tristan              Axelrod           BlockFi                                  Brown Rudnick
                                       Joint Provisional Liquidators of FTX
Alexander            Steiger           Digital Markets Ltd.                     Richards, Layton & Finger, P.A.
Philip               Dalgarno          FC Cayman A LLC                          Willkie Farr & Gallagher LLP
Evan                 Maass             NA
Alexander            Saeedy            WSJ
Trevor               Jones             Interested party                         Davis Polk & Wardwell
Meghana              Vunnamadala       Joint Liquidators of Three AC            Latham & Watkins LLP
Jeremy W.            Ryan              K5 Defendants                            Potter Anderson & Corroon LLP
Joshua               Porter            Certain Customers                        Entwistle & Cappucci LLP
Simon                Carter            FTX.com Customer
Kyle                 Begis             N/A
none                 none              none                                     none
Mr.                  Purple            Creditors
Pat                  Rabbitte          Per Se                                   n/a
Gabriela             Urias             Observer
Amanda               Lindner           Interested Party                         Cooley LLP
Jasmine              Ball              Observer
Vladimir             Jelisavcic        Cherokee Acquisition                     Vladimir Jelisavcic
Jason                Rosell            Interested Party                         Pachulski Stang Ziehl & Jones LLP
Jack                 Amed              Customer
M                    E                 Self
Concerned            Creditor          Creditors
David                Wender            Ad Hoc Non US CUstomers

MAXIMILIANO SERAFIN LARRIBA HERRANZ Customer
Tian                Zeng            Individual creditor
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Evelyn      Meltzer          Paradigm Operations LP                 Troutman Pepper
Becky       Yerak            Wall Street Journal                    News Corp
Peter       Sprofera         Self
Tavi        Flanagan         Platform Life Sciences Inc.             Pachulski Stang Ziehl & Jones LLP

Maria       Kotsiras          GreenLight Biosciences Holdings, PBC   Potter Anderson & Corroon LLP

Ryan        Beil              JPLs of FTX Digital Markets Ltd.       White & Case LLP
Sam         Ashuraey          Creditor                               Ashuraey Law PLLC
Emily       MacKay            Observer
Ruth        Ramjit            Observer


                              Lightspeed Strategic Partners I L.P. and
Michael     Godbe             Lightspeed Opportunity Fund, L.P.        Debevoise & Plimpton LLP
Grenville   Day               Cantor                                   Cantor
Siena       Cerra             Genetic Networks LLC                     Morris James LLP

                              Patrick Gruhn, Robin Matzke, and
Heath       Rosenblat         Lorem Ipsum UG                         Morrison Cohen LLP
Lauren      Sisson            BlockFi                                Haynes & Boone
Elizabeth   Peters            Brandon Williams                       Gebhardt & Smith LLP
Mark        Hurford           Celsius                                A.M. Saccullo Legal, LLC

                              Executive Committee to the Ad Hoc
John        Kang              Committee of Non-US Customers          Rothschild & Co
Charles     Delo              Rothschild & Co                        Rothschild & Co
                              Ad Hoc Committee of non-US
Sean        Crotty            Customers                              Rothschild & Co
julia       walters           AHC                                    Rothschild & Co
Lorenzo     Munoz             AHC                                    Rothschild & Co
                              Ad Hoc Committee of Non-U.S.
Nathaniel   DeLoatch          Customers of FTX.com                   Eversheds Sutherland (US) LLP
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Taylor        Harrison          Debtwire
Chad          Flick             n/a
                                Patrick Gruhn; Robin Matzke; Lorem
Samantha      Neal              Ipsum UG                           The Daley Law Firm LLC
                                Patrick Gruhn; Robin Matzke; Lorem
Darrell       Daley             Ipsum UG                           The Daley Law Firm LLC
Alex          Wittenberg        Law360
Suzzanne      Uhland            K5                                 Latham
                                Ad Hoc Committee of Non-US
Michael       Rogers            Customers of FTX.com               Eversheds Sutherland
Brandon       Williams          Myself
Patrick       Gruhn             Patrick Gruhn

                                 Patrick Gruhn, Robin Matzke, and
Joesph        Moldovan           Lorem Ipsum UG                      Morrison Cohen LLP
Miles         Wiley              N/A                                 Cahill Gordon
Hans          Kung               UCC                                 Pulsar
Jessica       Urgo               N/A                                 Cahill, Gordon & Reindel
Robin         Matzke             Lorem Ipsum
Michele       Wan                Pulsar Trading                      Pulsar Global Limited
effy          shi                investor                            crcm ventures
Ahmed         Razek              self
Alejandro     Martin             CRYPTONIZATE.COM                    CRYPTONIZATE.COM
Judge         Dorsey             U.S. Bankruptcy Judge
Christopher   Dunne              FTX Debtors                         Sullivan & Cromwell LLP
Spencer       Payne              Silver Point Capital, LP
Alexandra     Zablocki           K5
Alexa         Kranzley           FTX Trading Ltd. et al.             Sullivan & Cromwell LLP
                                 Ad Hoc Committee of Non-US
Erin          Broderick          Customers of FTX.com                Eversheds Sutherland (US) LLP
                                 Ad Hoc Committee of Non-US
Sarah         Paul               Customers of FTX.com                Eversheds Sutherland (US) LLP
Ellen         Bardash            ALM
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Gihoon    Jung               Creditor
Scott     Cousins            Evolve Bank & Trust                     Cousins Law LLC
                             Official Committee of Unsecured
Mathew    Laskowski          Creditors                               Paul Hastings LLP

Robert    Rock               State of New York                       Office of Attorney General Letitia James
                             Official Committee of Unsecured
Kris      Hansen             Creditors                               Paul Hastings LLP
                             Official Committee of Unsecured
Isaac     Sasson             Creditors                               Paul Hastings LLP
                             Official Committee of Unsecured
Gabe      Sasson             Creditors                               Paul Hastings LLP
                             Official Committee of Unsecured
Luc       Despins            Creditors                               Paul Hastings LLP
                             Official Committee of Unsecured
Erez      GIlad              Creditors                               Paul Hastings LLP
                             Riboscience LLC and 4J Therapeutics
Tiffany   Cobb               Inc.                                    Vorys, Sater, Seymour and Pease LLP

D.        Parker-Thompson    N/A
Ariel     Figueroa           N/A                                     N/A
Laura     Haney              Court
Ben       Weissler           N/A

                             Patrick Gruhn, Robin Matzke, and
Joesph    Moldovan           Lorem Ipsum UG                          Morrison Cohen LLP

Roma      Desai              State of Texas                          Office of the Texas Attorney General
Evan      Simpson            Debtors                                 Sullivan & Cromwell LLP
Arnold    Zahn               FTX Trading Ltd.

Sascha    Rand               FTX Debtors                             Quinn Emanuel Urquhart & Sullivan LLP
Anna      Baydakova          Media                                   The Block
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             1:00 PM   FTX Trading Ltd. 22-11068       Omnibus       11-15-2023
Kate     Hris           creditor                         Kate
howard   michaels       self
Barry    Kazan          N/A                               Mintz & Gold LLP
Jessie   Liu            CRCM LP                           CRCM LP
